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                                             State of New Jersey
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SHEILA Y. OLIVE R
  Lt. Governor



                                                    March 3, 2023

   The Honorable Renée Marie Bumb, U.S.D.J.
   United States District Court for the District of New Jersey
   Mitchell H. Cohen Building & U.S. Courthouse
   4th & Cooper Streets
   Camden, NJ 08101

       Re:     Siegel v. Platkin, 22-cv-7463
               Koons v. Platkin, 22-cv-7464

   Dear Chief Judge Bumb,

             Defendants write to inquire into the remaining timeline for the currently-
   pending preliminary injunction motions, consistent with this Court’s preference for a
   unitary process to “resolve the litigation all together,” including any appeals process.
   Oral Arg. Tr. (1/26/23), at 83. Mindful of this Court’s preference, the State has not yet
   filed an appeal, and has instead briefed all the issues in the motions for preliminary
   injunction in both above-captioned matters. Because those motions have been pending
   since February 24, 2023, this State is now respectfully requesting further information
   regarding the timeline for decision (and any oral argument).

              That timeline relates to the forthcoming appeals process. Defendants intend
   to file a notice of appeal on or before March 8, 2023, from the TRO orders dated January
   9, 2023 (Koons, Dkt. 35) and January 30, 2023 (Siegel, Dkt. 52). Although this Court
   is likely aware that TROs are not ordinarily appealable, a TRO functionally becomes a
   PI and therefore becomes appealable after sufficient passage of time. In assessing
   whether a TRO has gone “beyond preservation of the status quo and mandates
   affirmative relief” and becomes “immediately appealable under § 1292(a)(1),” courts




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      “must look past labels to consider functional effects.” Hope v. Warden York Cnty.
      Prison, 956 F.3d 156, 160-61 (3d Cir. 2020); see also Nutrasweet Co. v. Vit-Mar
      Enterprises, Inc., 112 F.3d 689, 692 (3d Cir. 1997). Federal Rule of Civil Procedure
      65(b) provides that TROs expire after 14 days unless the court “extends it for a like
      period”—in other words, 28 days. Wright & Miller provides the same: “The text of Rule
      65(b) seems to exclude any possibility that a TRO can remain in force beyond 28 days.”
      11A Wright & Miller, Fed. Prac. & Proc. Civ. § 2953 (3d ed.). In this case, 28 days
      elapsed from the Koons TRO on February 6, 2023. The deadline to file a notice of
      appeal from that injunction is 30 days later, on March 8, 2023. See Fed. R. App. P. 4.

                 Mindful of this Court’s suggestion that a single orderly process would be more
      efficient, including for eventual presentation on appeal, the State has not yet pursued
      emergency relief at the Third Circuit. But given the continued passage of time, a
      protective notice of appeal is now necessary to allow Defendants to seek a stay pending
      appeal from the Third Circuit if this Court’s decision on the pending motions for
      preliminary injunction is not immediately forthcoming. Conversely, if this Court issues
      an intervening decision on preliminary injunction (or lifts the TROs), Defendants would
      of course withdraw the appeal and any pending motions. In light of the impacts of an
      injunction of its law that has now lasted almost two months, the State greatly appreciates
      this Court’s consideration.

                                           Respectfully submitted,
                                           MATTHEW J. PLATKIN
                                           ATTORNEY GENERAL OF NEW JERSEY

                                      By: /s/ Angela Cai
                                          Angela Cai
                                          Deputy Solicitor General


cc:      Daniel L. Schmutter, Esq.
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